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Proposed Counsel for Debtors

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                   FORT WORTH DIVISION

IN RE:                                §
                                      §
SOVRANO, LLC,                         §                               CASE NO. 19-40067-11
MR. GATTI’S, LP,                      §                               CASE NO. 19-40069-11
GATTI’S GREAT PIZZA, INC.,            §                               CASE NO. 19-40070-11
GIGI’S CUPCAKES, LLC,                 §                               CASE NO. 19-40072-11
GIGI’S OPERATING, LLC,                §                               CASE NO. 19-40073-11
                          1
GIGI’S OPERATING II, LLC,             §                               CASE NO. 19-40074-11
                                      §
      Debtors.                        §                               (Joint Administration Requested)
                                      §
_____________________________________ §                               Emergency Hearing Requested

         CHECKLIST PERTAINING TO MOTION TO USE CASH COLLATERAL

         Sovrano, LLC, Mr. Gatti’s L.P., Gatti’s Great Pizza, Inc., Gigi’s Cupcakes, LLC and

Gigi’s Operating, LLC (each a “Debtor” and collectively, the “Debtors”) hereby file this

Checklist pertaining to the Joint Emergency Motion for Entry of Interim and Final Orders (I)

Authorizing Debtors to Use Cash Collateral of Equity Bank, (II) Granting Adequate Protection,




1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are as follows: Sovrano, LLC (1470); Mr. Gatti’s, LP (0879); Gatti’s Great Pizza, Inc. (6061); Gigi’s
Cupcakes, LLC (8356); Gigi’s Operating, LLC (0621); and Gigi’s Operating II, LLC (8396).


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(III) Modifying the Automatic Stay, and (IV) Setting a Final Hearing (the “Motion”) [Docket No.

6] filed in each of their respective bankruptcy cases:

                                         Certificate by Counsel

       This is to certify that the following checklist fully responds to the Court’s inquiry

concerning material terms of the motion and/or proposed order:

1. Identification of Proceeding:

(a) Preliminary or final motion/order                                        Preliminary
(b) Continuing use of cash collateral (§ 363)                                Yes
(c) New financing (§ 364)                                                    No
(d) Combination of §§ 363 and 364 financing                                  No
(e) Emergency hearing (immediate and irreparable harm)                       Yes


2. Stipulations:

(a) Brief history of debtor’s businesses and status of debtor’s prior        Various debtors have
relationships with lender.                                                   pre-petition secured
                                                                             loans with Equity Bank

(b) Brief statement of purpose and necessity of financing:                   Cash Collateral
                                                                             needed for operations

(c) Brief statement of type of financing (i.e.) accounts receivable,         N/A
inventory)
(d) Are lender’s pre-petition security interest(s) and liens deemed
valid, fully perfected and non-avoidable?                                    Yes

    (i) Are there provisions to allow for objections to above?               Yes within Challenge Period
(e) Is there a post-petition financing agreement between                     No
lender and debtor?
                                                                             N/A
    (i) If so, is agreement attached?

(f) If there is an agreement, are lender’s post-petition security
interests and liens deemed valid, fully perfected and non-                   N/A
avoidable?
(g) Is lender under secured or oversecured? (circle one)                     Unknown
(h) Has lender’s non-cash collateral been appraised?                         No
     Insert date of latest appraisal.
(i) Is debtor’s proposed budget attached?                                    Yes


CHECKLIST                                                                              PAGE 2 OF 5
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(j)Are all pre-petition loan documents identified?                        Yes
(k) Are pre-petition liens on single or multiple assets?                  Multiple
(l) Are there pre-petition guaranties of debt                             Yes
    (i) Limited or unlimited?                                             Limited as to Gatti’s;
                                                                          Unlimited as to Gigi’s
3. Grant of Liens:

(a) Do post-petition liens secure pre-petition debts?                     Yes
(b) Is there cross-collaterization?                                       Yes
(c) Is the priority of post-petition liens equal to or higher than
existing liens?                                                           Yes
(d) Do post-petition liens have retroactive effect?                       No
(e) Are there restrictions on granting further liens or liens of equal
or higher priority?                                                       Yes
(f) Is lender given liens on claims under §§ 506(c), 544-50 and §§
522?                                                                      No
     (i) Are lender’s attorney’s fees to be paid?                         Yes if bank is oversecured
     (ii) Are debtor’s attorney’s fees excepted from § 506(c)?            Yes, partially
(g) Is lender given liens upon proceeds of causes of action under §§
544, 547, and 548?                                                        No

4. Administrative Priority Claims:

(a) Is lender given an administrative priority?                           Yes
(b) Is administrative priority higher than § 507(a)?                      Yes
(c) Is there a conversion of pre-petition secured claim to post-
petition administrative claim by virtue of use of existing collateral?    No

5. Adequate Protection (§ 361):

(a) Is there post-petition debt service?                                  No
(b) Is there a replacement/additional §361(1) lien?                       Yes
(c) Is the lender’s claim given super-priority?                           Yes
    (i) § 364(c) or (d))
(d) Are there guaranties?                                                 Yes, prepetition
(e) Is there adequate insurance coverage?                                 Yes
(f) Other?                                                                No

6. Waiver/Release Claims v. Lender:

(a) Debtor waives or releases claims against lender, including, but
not limited to, claims under §§ 506(c), 544-550, 552, and 553 of          Yes
the Code?
(b) Does the debtor waive defenses to claim or liens of lender?           Yes




CHECKLIST                                                                           PAGE 3 OF 5
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7. Source of Post-Petition Financing:

(a) Is the proposed lender also the pre-petition lender?                  N/A
(b) New post-petition lender?                                             N/A
(c) Is the lender an insider?                                             N/A


8. Modification of Stay:

(a) Is any modified lift of stay allowed?                                 Yes, limited ¶19
(b) Will the automatic stay be lifted to permit lender to exercise
self-help upon default without further order?                             No
(c) Are there any other remedies exercisable without further order
of court?                                                                 No
(d) Is there a provision that any future modification of order shall
not affect status of debtor’s post-petition obligations to lender?        Yes

9. Creditors’ Committee:

(a) Has creditors’ committee been appointed?                              No
(b) Does creditors’ committee approve of proposed financing?              N/A


10. Restrictions on Parties in Interest:

(a) Is a plan proponent restricted in any manner, concerning
modification of lender’s rights, liens and/or causes?                     Yes
(b) Is the debtor prohibited from seeking to enjoin the lender in
pursuit of rights?                                                        Yes
(c) Is any party in interest prohibited from seeking to modify this
order?                                                                    Yes
(d) Is the entry of any order conditioned upon payment of debt to
lender?                                                                   No
(e) Is the order binding on subsequent trustee on conversion?             Yes

11. Nunc Pro Tunc:

(a) Does any provision have retroactive effect?                           No

12. Notice and Other Procedures:

(a) Is shortened notice requested?                                        Yes
(b) Is notice requested to shortened list?                                Yes
(c) Is time to respond to be shortened?                                   Interim Only




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(d) If final order sought, have 15 days elapsed since service of
motion pursuant to Rule 4001(b)(2)?                                             N/A
(e) If preliminary order sought, is cash collateral necessary to avoid
immediate and irreparable harm to the estate pending a final
hearing?                                                                        Yes
(f) Is a Certificate of Conference included?                                    No
(g) Is a Certificate of Service included?                                       Yes
(h) Is there verification of transmittal to U.S. Trustee included
pursuant to Rule 9034?                                                          Yes
(i) Has an agreement been reached subsequent to filing motion?                  No
     (i) If so, has notice of the agreement been served pursuant to
     Rule 4001(d)(1)?                                                           N/A
     (ii) Is the agreement in settlement of motion pursuant to Rule
     4001(d)(4)?                                                                N/A
     (iii) Does the motion afford reasonable notice of material
     provisions of agreement pursuant to Rule 4001(d)(4)?                       N/A
     (iv) Does the motion provide for opportunity for hearing
     pursuant to Rule 9014?                                                     Yes


                                                      Respectfully submitted,

                                              By:     /s/ Michael A. McConnell
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